          Case 1:21-cv-02265-APM Document 90 Filed 12/05/21 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.


                               Plaintiffs,
           v.

DONALD J. TRUMP, et al.                                           Civil Action No. 1:21-cv-02265-APM

                             Defendants.



        DEFENDANT ZACHARY REHL’S MOTION FOR RECONSIDERATION
                      ON HIS MOTION FOR STAY

       Comes now the Defendant Zachary Rehl, by counsel, and hereby moves the Court for

reconsideration of its order denying a stay of this civil case.

       Counsel understands the Court’s Minute Order postponing consideration of problems that

may arise while many of these Defendants are facing criminal prosecution and trial until such

time as those difficulties may be sharply presented in isolation. Whereas many Defendants

asked to have the case in its entirety stayed, the Court seems to have indicated that it will

consider individual steps or activities within the case separately.

       However, the Plaintiffs, by counsel, have filed a motion for extension of time on

November 24, 2021, in which to serve three named Defendants, including Ali Alexander and

Stewart Rhodes, on the grounds that despite diligent attempts they have been unable to effectuate

service upon them. The Court has also docketed undeliverable mail sent to Thomas Caldwell.

       The Plaintiffs report some unreliable mention that Ali Alexander might waive service,

but that procedure would extend the time even further before that Defendant and perhaps others

would participate in the Rule 12 motions now before the Court. A waiver of service would allow
         Case 1:21-cv-02265-APM Document 90 Filed 12/05/21 Page 2 of 5




a Defendant 60 days in which to file a responsive pleading.

       An additional reason named in Rehl’s Motion for Stay and in other Defendants’ Motions

for Stay was the unruly nature of having many Defendants following different timetables and

schedules within this case. Rehl’s motion identified the fact that many Defendants had not yet

been served or made appearances if served, and that this created a chaotic set of deadlines (if that

is expressed perhaps more clearly here now).

       Rehl, by counsel, requests that the Court reconsider whether a stay might also be

appropriate so that all of the Defendants can be brought under the same timetable for the benefit

of the Court’s handling of the case as well as the Defendants’ responses.

       The three Defendants who have not been served and for which the Plaintiffs’ seek more

time would be significant and important participants.

       Stewart Rhodes is of course identified as the head of the Oath Keepers. Based on the

tenuous house of cards theory of not merely these Plaintiffs but all of the political class,

prosecution at the U.S. Attorney’s Office for the District of Columbia, and Select Committee of

the U.S. Congress, the role of the participation of the head of the Oath Keepers would be far

more significant than any of the other, individual Oath Keepers named. Without assuming that

Stewart Rhodes will necessarily ever be served, just being careful not to prejudge, or assuming

what the evidence may show, it would seem to be disadvantageous to proceed without the head

of the Oath Keepers’ involvement, only to later in the process have the leader of the Oath

Keepers enter a belated appearance. This would be upside down logically, or at least most likely

to make the process backwards, the wrong way around. Especially given the total absence of any

evidence of the individual Defendants’ liability for the actions of about 50 violent hooligans with

which these Defendants have no relationship whatsoever, it would be important to proceed with




                                                  2
         Case 1:21-cv-02265-APM Document 90 Filed 12/05/21 Page 3 of 5




the Oath Keepers’ leader leading the way to those downstream of the leader in this lawsuit.

       Similarly, counsel is learning more about the mitigating factors involving Ali Alexander

as events unfolded on January 6, 2021. However, Ali Alexander is the only person who claims

to have been the “National Organizer” of “Stop the Steal.” All of the other Defendants, although

former President Donald Trump hasn’t addressed it, deny leading anything on or relating to

January 6, 2021, except themselves.

       The only person who publicly declared himself as the “National Organizer” of “Stop the

Steal” has not been served and is not in the case.

       So we would be proceeding in this lawsuit without the only person who claims to have

been “the leader” (although perhaps former President Trump might also) and against those who

deny being the leader of anyone but themselves and their peaceful friends.

       Of course, “Stop the Steal” is an ill-defined slogan referring to dozens of rallies, protests,

and events all around the country stretching between November 2020 and January 6, 2021. It

refers to the peaceful, First Amendment protected rallies planned at the Ellipse on January 6,

2021, as well as the demonstrations for which the U.S. Capitol Police issued permits for

gatherings on the U.S. Capitol Grounds on January 6, 2021, and rallies in previous months in

cities around the country. But Ali Alexander created an entity Stop the Steal, LLC.

       While counsel expects these Defendants to have strong and successful defenses to the

Complaint, for the purposes of a stay and scheduling, the fact that they are key figures in the

peaceful, First Amendment rallies and events all across the country and at the Ellipse on January

6, 2021, makes it difficult to conceive of proceeding in this lawsuit without them participating on

the same timetable as everyone else.

       WHEREFORE, the goal of an orderly proceeding for the lawsuit on a consistent schedule




                                                 3
         Case 1:21-cv-02265-APM Document 90 Filed 12/05/21 Page 4 of 5




is an important consideration that the Court should reconsider in light of the new developments

that two of the most significant Defendants have not even been served yet.

Dated: December 5, 2021              RESPECTFULLY SUBMITTED
                                     ZACHARY REHL, By Counsel




                                     USDCDC Bar No. VA005
                                     Virginia State Bar No. 41058
                                     Mailing address only:
                                     5765-F Burke Centre Parkway, PMB #337
                                     Burke, Virginia 22015
                                     Telephone: (703) 656-1230
                                     Facsimile: (703) 997-0937
                                     Contact@JonMoseley.com
                                     Moseley391@gmail.com




                      Mr. Damon Hewitt, Esq.
                      Jon Greenbaum, Esq., D.C. Bar No. 489887
                      Edward G. Caspar, Esq., D.C. Bar No. 1644168
                      David Brody, Esq., D.C. Bar No. 1021476
                      Arusha Gordon, Esq., D.C. Bar No. 1035129
                      Noah Baron, D.C. Esq., Bar No. 1048319
                      Adonne Washington Esq.,
                      Lawyers’ Committee for Civil Rights Under Law
                      1500 K Street N.W., Suite 900
                      Washington, DC 20005
                      Telephone: (202) 662-8300
                      jgreenbaum@lawyerscommittee.org
                      dhewitt@lawyerscommittee.org
                      ecaspar@lawyerscommittee.org
                      dbrody@lawyerscommittee.org
                      agordon@lawyerscommittee.org


                                               4
Case 1:21-cv-02265-APM Document 90 Filed 12/05/21 Page 5 of 5




          nbaron@lawyerscommittee.org
          awashington@lawyerscommittee.org
          Legal Co-Counsel for Plaintiffs

          Mr. Robert C Buschel, Esq.
          BUSCHEL & GIBBONS, P.A.
          501 East Las Olas Boulevard, Suite 304
          Fort Lauderdale, Florida 33301
          Telephone: 954-530-5748
          Buschel@bglaw-pa.com
          Legal Counsel for Defendant Roger Stone

          Juli Zsuzsa Haller, Esq.
          LAW OFFICES OF JULIA HALLER
          601 Pennsylvania Avenue, NW, Suite 900
          S. Building
          Washington, DC 20036
          Telephone: 202-352-2615
          hallerjulia@outlook.com
          Legal Counsel for Kelly Meggs

          Stephen R. Klein, Esq.
          BARR & KLEIN PLLC
          1629 K Street NW, Suite. 300
          Washington, DC 20006
          Telephone: 202-804-6676
          steve@barrklein.com
          Legal Counsel for Brandon J. Straka

          Nicholas D. Smith
          DAVID B. SMITH, PLLC
          7 East 20th Street, Suite 4r
          New York, NY 10003
          Telephone: 917-902-3869
          nds@davidbsmithpllc.com
          Legal Counsel for Felipe Antonio Martinez




                                  5
